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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                CASE NO. 3:05cr101LAC

JOHN HOANG CAO

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on January 30, 2006
Motion/Pleadings: AMENDED MOTION AND MOTION TO QUASH SUBPOENA
Filed by ATTY REGAN                       on 1/19 & 1/25/06 Doc.# 37 & 39
RESPONSES:
BY GOVERNMENT                             on 1/24/06        Doc.# 31
                                          on                Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                            ORDER
Upon   consideration      of   the    foregoing,      it    is     ORDERED    this   2 nd   day   of
February, 2006, that:
(a) The relief requested is GRANTED.
(b)




                                                                 s /L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
